Case: 2:20-cv-00025-WOB-CJS Doc #: 65-8 Filed: 12/20/21 Page: 1 of 5 - Page ID#: 872




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                          NORTHERN DIVISION AT COVINGTON

  NICHOLAS SANDMANN, by and                    CASE NO. 19-CV-00056-WOB-CJS
  through his parents and natural guardians,
  TED     SANDMANN           and     JULIE
  SANDMANN,

         Plaintiff,

  v.

  NBCUNIVERSAL MEDIA,LLC

         Defendant.




  NICHOLAS SANDMANN, by and                    CASE NO. 20-CV-00023-W0B-CJS
  through his parents and natural guardians,
  TED     SANDMANN           and     JULIE
  SANDMANN,

         Plaintiff,

  v.

  THE NEW YORK TIMES COMPANY
  d/b/a THE NEW YORK TIMES

         Defendant.




  NICHOLAS SANDMANN, by and                    CASE NO. 20-CV-00024-W0B-CJS
  through his parents and natural guardians,
  TED      SANDMANN           and    JULIE
  SANDMANN,

         Plaintiff,

  v.

  CBS NEWS,INC., et al.
Case: 2:20-cv-00025-WOB-CJS Doc #: 65-8 Filed: 12/20/21 Page: 2 of 5 - Page ID#: 873




         Defendants.




  NICHOLAS SANDMANN, by and                    CASE NO. 2:20-CV-00025-W0B-CJS
  through his parents and natural guardians,
  TED     SANDMANN            and    JULIE
  SANDMANN,

         Plaintiff,



  ABC NEWS,INC., et al.

         Defendants.




  NICHOLAS SANDMANN, by and                    CASE NO. 2:20-CV-00026-W0B-CJS
  through his parents and natural guardians,
  TED     SANDMANN           and     JULIE
  SANDMANN,

         Plaintiff,

  v.

  GANNETT CO., INC. AND GANNETT
  SATELLITE         INFORMATION
  NETWORK,LLC,

         Defendants.




  NICHOLAS SANDMANN, by and                    CASE NO. 2:20-CV-00027-W0B-CJS
  through his parents and natural guardians,
  TED     SANDMANN           and     JULIE
  SANDMANN,

         Plaintiff,
Case: 2:20-cv-00025-WOB-CJS Doc #: 65-8 Filed: 12/20/21 Page: 3 of 5 - Page ID#: 874




  V.

  ROLLING STONE,LLC,et al.

          Defendants.



                             DECLARATION OF SAMUEL BROCKETT


         Pursuant to 28 U.S.C. § 1746, I, Samuel Brockett, declare the following:

         1.      My name is Samuel Brockett. I make this Declaration from personal knowledge

 and am competent to testify to the facts stated herein.

         2.      I reside in Florence, Kentucky.

         3.      Between 2013 and 2019, I attended Covington Catholic High School("CCHS")in

 Park Hills, Kentucky. I graduated in May 2019.

        4.       On January 18, 2019, I attended the March for Life in Washington, D.C. as a part

 of a CCHS-sponsored trip to obtain community service hours for graduation. I was a senior at the

 time of the trip.

         5.      On January 25, 2019 at 12:34 p.m. Eastern Time I gave an interview to an

 investigator from the Diocese of Covington at CCHS concerning an incident involving CCHS

 students, Black Hebrew Israelites, and Native Americans on the steps ofthe Lincoln Memorial in

 Washington D.C. The incident I described took place between approximately 4:30 p.m. and 5:30

 p.m. on January 18, 2019.

        6.       Attached to my declaration as Exhibit A is what I believe to be a complete and

 unaltered audio recording of that interview made by the investigator.
Case: 2:20-cv-00025-WOB-CJS Doc #: 65-8 Filed: 12/20/21 Page: 4 of 5 - Page ID#: 875




        7.     The statements I made during that interview describing and explaining the incident

 on the steps of the Lincoln Memorial were truthful to the best of my recollection and belief now,

 and at the time ofthe interview.

        I declare under penalty of perjury that the foregoing is true and correct.

 Executed on December 17
                       3 ,2021.




                                              Samuel Brockett
Case: 2:20-cv-00025-WOB-CJS Doc #: 65-8 Filed: 12/20/21 Page: 5 of 5 - Page ID#: 876




                                 EXHIBIT A
            Samuel Brockett Audio Recording



                         Filed Conventionally
